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                EXHIBIT B
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                                     Terwilliger Law PLLC

                                          P.O. Box 74

                                     Delaplane, VA 20144

                                         July 22, 2024



Re: State v. Meadows, Superior Court, Maricopa County No. CR2024-006850-018-DT

Via email

Dear Mr. Klingerman ,

When my co-counsel Ms. Chapman and I first spoke with you about the indictment in this
case, I asked and you agreed that you would in good faith review a submission from us
explaining why under the Supremacy Clause of the US Constitution the charges against Mr.
Meadows in this case should be dismissed. We thank you for your agreement to do so and
provide the attached submission for that purpose. We ask that you expeditiously review
that paper and, if necessary, schedule as soon as possible a discussion with us about the
issue because the immunity addressed, where applicable, is a bar not to conviction but
rather immunity to being charged , which has already occurred in this matter.

As a courtesy, we also inform you herby that we will be filing in short order a notice of
removal of this matter pursuant to 29 U.S.C. 1442 (a)(1 ). As you know, that statute provides
that cases where state authorities charge federal officials with an offense arising from
conduct related to their federal duties are subject to removal to federal court. Also, for your
information , we will also in short order file a timely petition for certiorari requesting
Supreme Court review of the 11 th Circuit ruling in the matter of State v. Meadows, which
held that the above removal statute does not cover former federal officials.




Counsel for Mr. Meadows

Cc: Anne Chapman, Esq.
